            Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 1 of 8


                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      October 7, 2020

VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter to provide additional information in
response to the Court’s prior inquiry regarding the Government’s plan to obtain and review other
investigative files, created and maintained by other offices, which are related to the above-
referenced case. In particular, at the initial conference in this matter on July 14, 2020, the Court
asked the Government about its plan to ensure timely review the files of other agencies for potential
disclosures in this case and highlighted the Court’s expectation that the Government would be
thoughtful and probing in its assessment of such a review. Consistent with the Government’s
commitment to take a thorough and transparent approach to its disclosure obligations, this letter
outlines the relevant investigative files of which the Government is currently aware and describes
the Government’s approach as to each.

       I.      Background Regarding the Government’s Rule 16 Discovery Productions

        The charges in this case arise out of an investigation conducted by the United States
Attorney’s Office for the Southern District of New York (“USAO-SDNY”), the Federal Bureau of
Investigation (“FBI”) New York Office, and the New York Police Department (the “NYPD”)
(collectively, the “Prosecution Team”). That investigation was opened in 2018 and remains
ongoing. The Government has copies of the full investigative files for this case from the USAO-
SDNY, the FBI New York Office, and the NYPD (the “Prosecution Team Files”). The bulk of the
productions to date have come from the Prosecution Team Files. The Government is continuing
to review the Prosecution Team Files for any additional materials that warrant disclosure.

        Specifically, to date, the Government has produced approximately 328,863 pages of
discovery to the defense in this case. Those materials include, among other things, photographs,
documents seized during searches, search warrants, search warrant applications, financial records,
travel records, property records, phone records, law enforcement reports, and other subpoena
               Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 2 of 8

    Honorable Alison J. Nathan
    October 7, 2020
    Page 2


returns. The Government is continuing the process of reviewing and preparing productions of
electronic discovery materials, which include extractions of data from numerous electronic
devices. The Government expects that it will meet the November 9, 2020 deadline for the
completion of electronic discovery productions. Additionally, the Government recognizes that its
disclosure obligations are ongoing, and the Government will continue to review the Prosecution
Team Files for any additional discoverable or exculpatory materials. In particular, the Government
is aware of its obligations under Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and will
promptly produce any exculpatory material of which it becomes aware.

        The Government’s Rule 16 discovery productions do not include witness statements or
material under Giglio v. United States, 405 U.S. 150 (1972) and its progeny, consistent with the
common practice and law within this Circuit. As indicated in a prior letter, the Government intends
to produce all such materials to the defense well in advance of trial.1 Specifically, although the
parties have not yet conferred regarding a schedule for disclosure of witness statements, the
Government is prepared to produce all statements and impeachment material for witnesses it
expects to call at trial as early as four weeks prior to trial. Additionally, the Government is
prepared to produce any statements by witnesses who it does not expect to call at trial as early as
eight weeks prior to trial, subject to restrictions to protect those individuals’ privacy to be
negotiated by the parties.

         II.      Applicable Law Governing Disclosure of Other Investigative Files

        The disclosure obligations set forth in Federal Rule of Criminal Procedure 16, Brady, and
Giglio apply to materials in the Government’s “possession.” As a general matter, though “[a]n
individual prosecutor is presumed . . . to have knowledge of all information gathered in connection
with his office’s investigation of the case[,] . . . knowledge on the part of persons employed by a
different office of the government does not in all instances warrant the imputation of knowledge
to the prosecutor . . . .” United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (citations
omitted); see also United States v. Locascio, 6 F.3d 924, 948-49 (2d Cir. 1993) (declining to “infer
the prosecutors’ knowledge simply because some other government agents knew about” additional
evidence where federal prosecutors were unaware of documents in possession of FBI agents who
were “uninvolved in the investigation or trial of the defendants”); United States v. Quinn, 445 F.2d
940, 944 (2d Cir. 1971) (declining to impute knowledge of prosecutor in Florida to prosecutor in
New York and noting that the “Department of Justice alone has thousands of employees”). The
imposition of such “an unlimited duty on a prosecutor to inquire of other offices not working with
the prosecutor’s office on the case in question would inappropriately require [courts] to adopt ‘a
monolithic view of government’ that would ‘condemn the prosecution of criminal cases to a state
of paralysis.’” Avellino, 136 F.3d at 255 (quoting United States v. Gambino, 835 F. Supp. 74, 95
(E.D.N.Y. 1993)). Thus, discovery and disclosure obligations only extend to “information known

1
  The Government recognizes that its Brady obligations include the disclosure of witness
statements containing exculpatory information. To date, the Government is not aware of any
exculpatory material contained in any witness statements, but it will continued to review its files,
including witness statements, for such material. If the Government becomes aware of any Brady
material from any source, it will promptly disclose such material to the defense.
          Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 3 of 8

 Honorable Alison J. Nathan
 October 7, 2020
 Page 3


to persons who are a part of the ‘prosecution team’ . . . who perform investigative duties or make
strategic decisions about the prosecution of the case,” including “police officers and federal agents
who submit to the direction of the prosecutor and participate in the investigation.” United States
v. Barcelo, 628 F. App’x 36, 38 (2d Cir. 2015) (quoting United States v. Stewart, 433 F.3d 273,
298 (2d Cir. 2006)).

        In considering whether Rule 16 and Brady apply to records in the possession of another
government agency, a prosecutor’s duty extends to reviewing such evidence only where the
Government conducts a “joint investigation” with that agency or branch of government. See
United States v. Middendorf, No. 18 Cr. 36 (JPO), 2018 WL 3956494, at *4-5 (S.D.N.Y. Aug. 17,
2018) (no joint investigation between Government, Public Company Accounting Oversight Board
(“PCAOB”) and Securities and Exchange Commission (“SEC”) where PCAOB was not involved
in witness interviews or developing prosecutorial strategy, and SEC was not involved in the grand
jury presentation, reviewing the fruits of the Government’s investigation, or developing
prosecutorial strategy); United States v. Collins, 409 F. Supp. 3d 228, 241-43 (S.D.N.Y. 2019) (no
joint investigation between U.S. Attorney’s Office and SEC where the two entities conducted a
small number of joint interviews and engaged in limited sharing of information with each other);
United States v. Finnerty, 411 F. Supp. 2d 428, 433 (S.D.N.Y. 2006) (no joint investigation
between Government and New York Stock Exchange (“NYSE”) where documents sought were
“the product of an investigation that was undertaken by the NYSE of its own practices, and there
[wa]s no suggestion that the Government participated in that investigation”).

        Moreover, the involvement of agents from one component of an agency in an investigation
does not render the entirety of that agency part of the prosecution team. See, e.g., United States v.
Stein, 424 F. Supp. 2d 720, 723 (S.D.N.Y. 2006) (“While the prosecution’s disclosure obligation
in some circumstances may extend to materials beyond the knowledge of the individual
prosecutors assigned to a case, it does not extend to the collective knowledge of the entire United
States government or even to the entire government agency concerned.”); see also Locascio, 6
F.3d at 949 (refusing to impute to AUSAs knowledge of reports prepared by FBI agents who were
“uninvolved in the investigation or trial of the defendants”); cf. United States v. Ghailani, 687 F.
Supp. 2d 365, 372 (S.D.N.Y. 2010) (holding that, in the context of a speedy trial motion, other
members of the Department of Justice who were involved in making decisions about timing and
progress of the case were part of the “government” for Rule 16 purposes).

        As the foregoing precedents recognize, the factors relevant in determining whether an
agency or a component of an agency are part of the prosecution team, and therefore their records
are in the “possession” of the Government include whether the agency or component: “(1)
participated in the prosecution’s witness interviews, (2) was involved in presenting the case to the
grand jury, (3) reviewed documents gathered by or shared documents with the prosecution, (4)
played a role in the development of prosecutorial strategy, or (5) accompanied the prosecution to
court proceedings.” Middendorf, 2018 WL 3956494, at *4.
            Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 4 of 8

    Honorable Alison J. Nathan
    October 7, 2020
    Page 4


         III.   The Government’s Plan to Review Certain Files from the Florida Investigation

                A. Relevant Background Regarding the Florida Investigation (2005-2010)

         Between approximately 2005 and 2010, and as detailed further below, members of the
Palm Beach Police Department, the Palm Beach State’s Attorney’s Office, the U.S Attorney’s
Office for the Southern District of Florida (“USAO-SDFL”), and the FBI’s Palm Beach Resident
Agency (the “FBI Florida Office”) conducted a separate investigation and prosecution of Jeffrey
Epstein for his sexual abuse of minors in Florida (the “Florida Investigative Team” and the
“Florida Investigation,” respectively). The Prosecution Team in this case had no involvement in
the Florida Investigation, which predated the instant investigation by approximately eight years.2
Similarly, the Florida Prosecution Team and the agencies involved in the Florida Investigation
have had no involvement in the investigative, charging, or prosecutorial strategy decisions of the
Prosecution Team in this case. Accordingly, under the governing law of this Circuit as discussed
above, there is no basis for deeming the Florida Prosecution Team a part of the current Prosecution
Team, and the Government does not believe it has any legal obligation to obtain or review the
investigative files of those agencies. As discussed below, however, the Government is
nevertheless prepared to go significantly above and beyond its disclosure obligations by requesting
files from the Florida Investigation that have at least some potential to contain materials that could
be relevant to the instant case, and by reviewing and producing those materials as appropriate in
this case.3


2
 As detailed herein, during the course of its investigation, the Prosecution Team has gathered
some documents related to the Florida Investigation, principally consisting of the FBI Florida
Office’s case file for the Florida Investigation. Those materials are being treated as a part of the
Prosecution Team’s files and will be produced, to the extent covered by Rule 16 or any other
disclosure obligation, to the defendant in this case.
3
  In addition to the Florida Investigation, the Government is aware, through public reporting
among other means, of a number of other investigations into matters relating to Jeffrey Epstein.
For example, it has been publicly reported that local agencies in the U.S. Virgin Islands, Paris, and
London have conducted and may still be conducting investigations into Epstein, which may
include investigation into his sexual abuse of minors. There has also been public reporting
regarding investigations into Epstein’s finances, including an investigation by the U.S. Attorney’s
Office in the U.S. Virgin Islands, and into the conditions of Epstein’s confinement while serving
his sentence following the Florida Investigation. Additionally, the USAO-SDNY conducted an
investigation into Epstein’s suicide and is currently prosecuting two corrections officers as a result
of that investigation. See United States v. Noel and Thomas, 19 Cr. 830 (AT). Separately, the FBI
Florida Office investigated and ultimately prosecuted an employee of Epstein’s named Alfredo
Rodriguez for obstruction of justice, see United States v. Alfredo Rodriguez, 10 Cr. 80015 (KAM),
and the Prosecution Team has received some files from that case. The Government does not intend
to further seek out or review the investigative files of any such cases, which are completely
unrelated to the subject matter of the instant prosecution and/or have been conducted by entities
that are not part of this Prosecution Team and, in some instances, the Department of Justice.
            Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 5 of 8

    Honorable Alison J. Nathan
    October 7, 2020
    Page 5


                 B. The Government’s Plan for Obtaining and Reviewing Certain Files from the
                    Florida Investigation

         As an initial matter, beginning during the course of its investigation, the Government has
obtained the entirety of the FBI Florida Office’s case file from the Florida Investigation. The
Government has already made productions from that file, is continuing to review that file, and
intends to produce at the appropriate point any additional material in that file warranting disclosure
in this case. That file includes, among other things, any FBI-302 of any relevant witness interview;
any relevant materials obtained pursuant to federal grand jury subpoena as part of that
investigation; and any relevant material seized during a search of Epstein’s Palm Beach residence
conducted as part of that investigation. The Government believes the FBI file contains
substantially all of the prior witness statements made during the Florida Investigation, including,
if applicable, any prior statements made by witnesses the Government intends to call at trial in this
case.

       In total, the Government has identified six potential sources of material related to the
Florida Investigation, and has been requesting and reviewing materials from those sources as
follows:

        First, the Palm Beach Police Department (“PBPD”) opened its investigation into Jeffrey
Epstein in or about 2005. During the course of that investigation, the PBPD, among other things,
conducted numerous witness interviews, issued multiple subpoenas for documents,4 and executed
a search warrant at Epstein’s Palm Beach Residence. In or about 2006, the PBPD referred its
investigation to the FBI Florida Office. It is the Government’s understanding that the PBPD
provided its entire investigative file to the FBI Florida Office. As discussed above, the Prosecution
Team already has a copy of the full FBI Florida Office file and, as such, has been reviewing and
will continue to review the PBPD file for any material that warrants disclosure in this case.
Additionally, the Government has contacted the Records Specialist at the PBPD, who informed
the Government that the PBPD has no additional investigative files beyond what it already
provided to the FBI Florida Office. Out of an abundance of caution, however, the Government
asked the Records Specialist to provide the Prosecution Team with a copy of the files still in
PBPD’s possession related to the Florida Investigation. In response, the PBPD Records Specialist
provided the Government with 60 pages of documents, which the Prosecution Team reviewed for
any material that is non-duplicative and warrants disclosure in this case. The Prosecution Team
has identified five of those pages as non-duplicative and intends to produce those five pages as
part of its next discovery production to the defense.

        Second, the Palm Beach State’s Attorney’s Office (the “PBSA”), working with the PBPD,
among other agencies, handled the Florida state investigation and prosecution of Jeffrey Epstein
between approximately 2005 and 2010 (when Epstein completed his sentence). As a result of that
investigation and prosecution, Epstein pled guilty to procuring an underage girl for prostitution
and soliciting a prostitute. Prior to September 14, 2020, the Prosecution Team had never received
any documents directly from the PBSA and did not have the PBSA’s full investigative file.

4
    As detailed below, these subpoenas were issued by the Palm Beach State’s Attorney’s Office.
            Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 6 of 8

    Honorable Alison J. Nathan
    October 7, 2020
    Page 6


Although the PBSA is not part of the Prosecution Team, the Government has nevertheless
communicated with the PBSA and requested that the PBSA provide the Prosecution Team with its
entire investigative file, to the extent it still exists. In response, on September 14, 2020, the PBSA
provided the Prosecution Team with an electronic copy of its entire case file regarding the Florida
Investigation, which consists of 4,421 pages of documents, 43 audio files, and 6 video files. The
Government is reviewing that file for any material that is non-duplicative of other material
previously obtained and that warrants disclosure in this case.

        Third, the FBI Florida Office conducted a prior federal investigation into Jeffrey Epstein
between approximately 2006 and 2010. As noted above, the electronic files from the FBI Florida
Office are accessible by the FBI New York Office, which has provided the Government with a
complete set of FBI electronic files from both its Florida Office and its New York Office for this
case. The Government has reviewed those files for discoverable materials. The physical files
from the FBI Florida Office, which are contained in approximately 24 boxes, have all been
transferred to the FBI New York Office and are in the possession of the Prosecution Team. Those
files have been scanned and put into an electronic review platform. The Government has
previously reviewed those files and is continuing to do so for discoverable materials. In addition,
and as noted above, some items from the FBI Florida Office file have already been produced as
part of prior discovery productions in this case.

         Fourth, the USAO-SDFL participated in the federal investigation of Jeffrey Epstein
between approximately 2006 and 2010. Before today, the Prosecution Team had never received
any documents from the USAO-SDFL and did not have the USAO-SDFL’s investigative file.
Indeed, aside from notifying the SDFL at an executive level that the SDNY was opening its own
Epstein investigation in 2018, the Prosecution Team had no substantive communications with the
USAO-SDFL about the Prosecution Team’s investigation or prosecution until after indicting this
case. However, after the initiation of this prosecution, the Government communicated with the
USAO-SDFL and requested that the USAO-SDFL provide the Prosecution Team with a copy of
its entire investigative file, so that the Prosecution Team could review the files for material that
warrants disclosure in this case. The USAO-SDFL agreed to provide its entire file, which is
contained in approximately 28 boxes, to the Prosecution Team. Accordingly, the Government
hired a vendor to copy the entire USAO-SDFL file and load that file into an electronic review
platform. The Government received the electronic copy of the USAO-SDFL file from the vendor
today and intends to review that file for materials that warrant disclosure in this case.

        Fifth, internal Department of Justice emails relating to the prior Florida Investigation have
been gathered by the Department of Justice’s Office of Professional Responsibility (“OPR”), as
part of its unrelated investigation into the resolution of the prior Florida Investigation. 5 In
particular, during the course of its investigation, OPR gathered a significant volume of emails, to
the extent they had been preserved and remained accessible, from a number of USAO-SDFL
attorneys, including a number of supervisors in that office and the primary line Assistant U.S.
Attorney who worked on the Florida Investigation (“Attorney-1”).


5
    This OPR investigation has been publicly acknowledged by the Department of Justice.
          Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 7 of 8

 Honorable Alison J. Nathan
 October 7, 2020
 Page 7


        Although the Government does not believe it has any obligation to gather or review emails
sent or received by attorneys at the USAO-SDFL as part of their separate, prior investigation, the
Government nonetheless intends to gather and review the emails sent to or from Attorney-1 to the
extent those emails were preserved and gathered by OPR. As noted, Attorney-1 was the primary
line assistant on that investigation, and Attorney-1’s emails are thus the most likely to contain
communications with or regarding potential witnesses. The Government has already obtained
Attorney-1’s emails from OPR, and given the volume, the Government intends to load those emails
into an electronic review platform and then conduct targeted searches of those emails for terms
relevant to this case, including the defendant’s name and the names of victims and witnesses.
Based on our understanding of the USAO-SDFL investigation, we do not believe that there are a
substantial number of overlapping victims or witnesses between that investigation and this
prosecution. But to the extent searches of Attorney-1’s emails reveal non-duplicative Giglio or
3500 material for any such victims or witnesses, the Government will produce any such identified
material consistent with any schedule for pre-trial disclosures set by the Court. The Government
does not intend to request or review emails for any other USAO-SDFL or Department of Justice
attorney or otherwise perform a comprehensive review of the internal e-mails of that prosecutor’s
office from its wholly separate investigation, including by asking for any other material gathered
by OPR as part of its investigation.

        Sixth, beginning in or about 2019, attorneys with the United States Attorney’s Office for
the Southern District of Georgia (“USAO-SDGA”) were designated to participate in the
representation of the United States in civil litigation brought by Epstein victims for violations of
the Crime Victim Rights Act (“CVRA”) by the USAO-SDFL in connection with the Florida
Investigation after the USAO-SDFL was recused from that civil litigation. The Government
intends to contact the USAO-SDGA and ask whether it (a) had any substantive communications
with witnesses relevant to this prosecution during its participation in the CVRA civil litigation, or
(b) gathered any information regarding the defendant, Ghislaine Maxwell. If so, the Government
will request any and all records regarding those topics and will review those records for materials
that warrant disclosure in this case. Otherwise, the Government does not intend to request or
review any materials from the USAO-SDGA.

                                          *      *       *

        As noted above, none of these other offices or agencies has played any role in the
investigation or prosecution of this case. In particular, none of these offices and agencies has
participated in witness interviews or taken any other investigative steps with the Prosecution Team.
Nor did any representative of these other offices or agencies play any role in developing strategy,
making charging decisions, or presenting this case to the grand jury. Accordingly, although the
Government maintains that none of these agencies is part of the Prosecution Team in this case,
given the similarity of the nature of the conduct investigated in this case and the conduct
investigated by those other offices and agencies, the Government is prepared to undertake the
extensive efforts described above to obtain and review additional material. The Government will
continue to produce any portion of those materials that warrants disclosure in this case, including
in connection with its production of Giglio and 3500 material.
          Case 1:20-cr-00330-AJN Document 63 Filed 10/07/20 Page 8 of 8

 Honorable Alison J. Nathan
 October 7, 2020
 Page 8


       IV.     Conclusion

        Consistent with its representations to the Court at the initial conference in this matter, the
Government is committed to maintaining a thorough, careful, and comprehensive approach to its
disclosure obligations. The Government is prepared to address any questions the Court may have
or to provide any additional information upon request.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney


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Cc:    All counsel of record, via ECF
